
*39ORDER
Considering the Joint Motion for Interim Suspension filed by respondent, Tommie Lee Lockhart, Jr., and the Office of Disciplinary Counsel,
IT IS ORDERED that Tommie Lee Lockhart, Jr. be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.3, pending further orders of this court. Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
IT IS FURTHER ORDERED that necessary disciplinary proceedings be instituted in accordance with Supreme Court Rule XIX, §§ 11 and 19.
/s/ Jeannette Theriot Knoll Justice, Supreme Court of Louisiana
